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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 NEHA SHETH,                                                  :
                                              Plaintiff,      :   21 Civ. 9024 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 SKANSKA USA CIVIL NORTHEAST, INC., :
 et al.,                                                      :
                                              Defendants. :
 -------------------------------------------------------------X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by separate order, this case will be referred for settlement discussions to the

Hon. Gabriel W. Gorenstein, U.S. Magistrate Judge. It is hereby

        ORDERED that the parties shall file a joint letter informing the Court of the outcome of

their discussions, and if the case is not resolved, shall include a proposed briefing schedule for the

parties’ cross-motions for summary judgment or their availability for trial.


Dated: September 15, 2022
       New York, New York
